Ob/05/2019 8. Gabe T449-43447-cec

  
 

  

SMM em elects Bee B Cs iris Ran Tele mech

United States Bankruptcy Court for tha:
_EASTERN___ District of NEW YORK

i Gase number (# anawn):

Doc1 Filed 06/05/19

Chapter you ara filing undar:

Chapter 7
QD Chapter 11
OF chapter 12
OF Chapter 13

 

‘Official Form 101

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U] Check if this is an
amended filing

Voluntary Petition for Individuals Filing for Bankruptcy 42/17

 

The bankruptey forms use you and Doebfor 7 ta tefar to a dabtor filing alone, A married couple may file a bankruptcy case together—called a
joint case—and In joint cases, these forms use you to ask for information fram both debtors. For example, if a form asks, "Do yol! own a car,”
the answer would be yes if sither debtor owns a car, When information is neaded about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The

same person must be Deftor 7 in all of the forms.

Ba a¢ complete and accurate as possible. If two married people are filing togethar, both ara equally responsible for supplying correct
information, If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if Known). Answer every question.

 

a Identify Yourself

'4. Your full name

 

Write the name that is on your JACK

 

 

government-issued picture

| First name

 

identification (for example, First name
your driver's license ar A

passport). Middle name
Bring your picture CORTENS

 

“2. Middla name

 

Identification to your meeting —-_ Last name
with the trustee,

Suffix Gr, dr. 1)

‘2 All other names you

wi Last name

” “Batix Gr, ve) iy

 

First namie

 

Middle name

 

Last name

 

 

First name

 

have used in the last 8 First name
years
Include your married or Middle name
maiden names.
Last nama
First name
Middle name
Last nme

"Middle name

 

Laat naire

 

3, Only the last 4 digits of
. - your Social Security

number or federal OR

Individual Taxpayer

Identification number 9x oe
{ITIN)

Dux = mH -

 

 

 

Official Form 107

Voluntary Petition for (ndividvals Filing for Bankruptey ‘ page 4

 

 

 

 

 

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o
Debtor 4 JACK A. CORTENS Case number yrknown) pen, ane
Fira Wana Wied Mane Last hate
"About Debtor tz”
4 Any business names

and Employer
Identification Numbers
(EIN) you have used in
the last & years

Include trade names and
doing business as names

| have not used any business names or BINS. -

CI! have sot used any business'names or EINs.

 

Business nama

 

Business name

 

Business name

anes

ae
Business nama

aN

_ EIN

 

5. Where you live

175 Hawtorne Street

 

Number Street

Apt #3A

Brooklyn NY¥ 11225

 

Street

 

Gily State ZIP Code

KINGS
County

If your mailing address [s different from tha one
above, fill itin hare, Note that the court will send
any notices to you at this mailing address.

 

State ZIP Code

City

ws, County

2, Mf Dabter 2's malling address Is different from
‘yours, fill iin hare, Note that the court will send
‘ay notices Lo this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box ” PLO. Box

City State = ZIP Coda Clty Shale ZIP Code
_& Why you are choosing Chack one; Cheek one:

this district to file for
bankruptcy

i Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district

1 | have another reason. Explain.
(Sae 276 U.S.C. § 1408.)

 

 

 

 

 

 

CY Over the last 180 days before filing this petition,
| have lived in this district [onger than in any
other “

 

I) have another reason. Explain.
(See 78 (5.0, § 1408.)

 

 

 

 

 

 

Official Fonm 101

Voluntary Petition for Individuals Filing for Bankruptey

page 2

 

 

 
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Debtar 4 JACK A. CORTENS Gase number (it known}
Fiat Hane Midde Harn : Laat Narre
i
ee Tell the Court About Your Bankruptcy Gase i
7 The chapter of the Check one, (For a brief description of each, see Notice Required by 77 UJS.C. § 342/h) for Individuals Filing
Bankruptcy Code you far Bankruptcy (Form 2010). Also, go to the top of page + and check ihe appropriate box,
are choosing te file . ‘ vo
under 4 Chapter 7

(] Chapter 14
C) Chapter 12
QC) Chapter 13

we tee a.

 

 

3. How you will paythe faa 4] | will pay the entire fee when I file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashiers check, or money order. If your attorney is
submitting your payment on your behalf, your atlomey may pay with a cradit card or chack
with 4 pre-printed address.

LJ | need te pay the fee in installments. If you choose this optidn, sign and attach the
Application for individuals to Pay The Fillng Fee in installments (Official Farm 103A).

O) | request that my fee be waived (You may request this option only if you are filing for Ghapter 7.
By law, 4 judge may, but is not required to, waive your fee, and may do so only if your incame is
less than 150% of the official poverty Jine that applies to your family sizé and you aré unable to
pay the fee in installments). If you choose this option, you must fill aut he Application fo Have fhe
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

 

a. Have you filed for i] No
bankruptey within the
last 8 years? LY) Yes, District When S86 number
MM/ DOI YYYY
Distriet Whan Case number --
MM/ DD/Y¥YY¥
District When Case numbar
MM/ DDI YYYYT
19. Are any bankruptcy ld No
cases pending or being
filed by a spouse whois GL) Yes. Debter Relationship to you
not filing this cage with District When Case number, if known__,
you, or by a business MM/DD Peryy
partner, or by an
affiltate?
Deblor Retatlonship to you
District When ase number, if known
MM/DD/YY
11, Da you rent your FINo. Go toline 12.
residence? QO) ves. Has your landlord obtained an eviction judgment against you? \
LC) No. Go to line 12.
O) Yes. Fill out /nitia! Statemant About an Eviction Judgment Against You (Form 101A) and fite it as .
part of this bankruptcy petition.
Offigial Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
Ob /O5/2019 8: C&e £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 Mvood/oues

Debtor t JAC K A. CORTENS Case Number Gf kamen

Firdd Hawt Midd Mang Lad Nerve

Es Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole propriator Po. Go to Part 4.
of any full- or part-time
business? (J vas. Name and location of business

A sole proprietorship is a
business You operalé as an - = -
individual, and ig not 2 Name of business, if any
separate jegal entily such as

a Corporation, partnership, or NOMBSr Saas

 

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it

to this patition. City er State ZIP Gode

 

 

Check the appropriate box to dasenibe your business:

8 Health Gare Business (as defined in 11 U.S.C. § 101{27A))
oO Singla Asset Real Estate (as defined In 17 U.S.C. § 101(51B})
J Stockbroker (as detined in 11 U.8.0. § 104(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 107{6})
C None of the above

 

13, Are you filing under if you are filing under Ghapier 71, the count must know whelher you are a jamal business debtor oo that if
Chapter 11 of the can set approprafe deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, stalerent of operations, cash-Jlow statement, and faderal income tax ratumn or If

are you a small business any of these documents do not exist, follow the procedure In 11 .8.C. § 1116(1}{B).

debtor? a

No. | t fli der Chapter 11. :
Fora definition of smal? Of am nonming unger sneer !
business debier, see (No. 1 am fling under Chapter 11, but lam NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Cade.

 

Q Yas. 1am ffing under Chapter 11 and] am a small business dabtor actording to the definition in the
Bankruptcy Goda,

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

44. Do youown orhave any 44 No
property that poses or is
alleged to pose athreat J Yes. Whatis the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For exampla, do you awn
perishable goods, of livestock
that must be fed, or a building :
that needs urgent repairs? :

Where is the property?

 

 

If immediaté attantion is naeded, why is it needed?

 

 

 

Number Street

 

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy Page 4

 
Debtor t

Ob/05/2019 8: Gabe T449-43447-cec

JACK

Ping Brg:

A.

Maggio Rpm

CORTENS

Law Ware

Case number (f mown

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ete Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires thal you
receive a briefing about credit
counseling before you file far
bankruptey. You must
truthfully chack one of the
following choices. If you
cannot do so, you are not
eligible to file.

if you file anyway, tne court
can dismiss your cas@, you
will lose whatever filing fee
you paid, and yaur creditors
can begin collection activides
again,

Official Form 101

 

_ About Biebtor 1:
You must check one:

fel | received a briefing from an approved credit

counseling agency within the 180 days before}

filed this bankruptcy petition, and | recelved a
certificate of completion,

Attach a copy of the cartificate and the payment
plan, if any, [hat you developed with the agency.

(J I received 9 briefing from an approved credit
counseling aqancy within the 180 days before |
filed this bankruptcy petition, but [da not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

LU | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during tha 7
days atter! made my request, and exigent
circumstances merit a 30-day tamporary waiver
of the requirement

To ask for a 30-day temporary waiver of tha
requirement, attach a separate sheet explalning
what efforts you mada to obtain the briefing, why
you Ware unable te obtain it before you filed for
bankruptey, and what axigant circumstances
required you to fle this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy,

Hf tne court is satisfied with your taasons, you must
stil raceive a briefing within 40 days aftar you file.
You must file a certificate from the approved
agency, along with a capy of the payment plan you
developed, if any. If you do not do so, your case
may be digrissack

Any extension of the 30-day deadline js granted
only for gauge and is limited to a maximum of 15
days.

C1} am not raquirad to receive a briefing about
credit counseling because of:

(1) incapacity. 1 have a mental illness eramental © ~

deficiency that makes me
Incapable of realizing or making
rational decisigns about finances.

C1 Disability, My physical disability causes me
to be unable to participate in a
brlafing In person, by phone, or
through the Intemet, even after |

reasonably tried to do 30,

C) Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit coungeling with the courk -

Voluntary Petition for Individuals Filing for Bankruptcy

 
     
 

 

 

 

 

 

 

 

 

 

You must check ane:

 

QC) i received a briefing from an appreved credit
counsaling agancy within the 160 days before |
filed thie bankruptcy potition, and | received a
certificate of completion,

Attach al copy of the ¢ertificate and Lhe payment
plan, if any, that you davaloped with the agency.

 
 

Dit recelved a briefing from an approved credit
counseling agency within the 190 days before |

Within 14 days alter you file this bankruptcy petition, :
you MUST file 2 copy of the certificate and payment

C) | certify that | aeked for credit counseling
services from an approved agency, but was
unable to obtain these services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankrupicy, and what exigent circumstances
required you ta file this case.

Your case may be disralssed if tha court Is
dissatistied with your reasons for not receiving a
briefing before you filed for bankruptey.

If the court is satisfied with your reasons, you must
sill récaive 2 briefing within 30 days after you file.
You mut! fila 4 certificate from the approved
agency,|along with a copy of the payment plan you

   
  

pacity. [have 3 mental illness or a mental °
deficiency that makes ma !
incapable of realizing or making
rational decisions about finances.

 

oO Disabliity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, aven after |

Teasonably tried to do 0.

CI Active duty. | am currantly on active military

duty in a military combat zone.

If you baliave you are not required to receive a
briefing |about ¢redit counseling, you must file a
rootlon for waiver of credit counseling with the court. :

page 5

 

 
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fet

ooh, thie Bag

eatin

Debtor 1

Te hy AY Ca ben <

Case number (inonn]

 

Fir Nene

Answer These Questions for Reporting Purposes

bth Bare

(an Hama =

 

16. What kind of debts do
you have?

18a. Are your debts primarily consumer debte? Consumer aebie gre defined In 11 U-8.0. § 1074(8)

as “Incurred by an Individual primarily for @ personal, farnily, or hous

Ul No. Go toline 16b,
(ed) Yas. Go tolina 17,

i6b. Are your debts primarily business debte? Susiness debls are

ald purpose.”

debis that you Incurred to obiain

money for a business or investment or through the operation of the busines or investment,

2 No. Go to line 6c.
QJ Yes. Goto line 17.

iGc, State the type of debts you awe that area not consumer debts or business debts.

 

 

17. Are you fling under

Chapter 77

Do you estimate that after
any exempt property is
excluded and
administrative expenses

G9 Ne. 1 am not fling under Chapter 7, Go to line 18.

Yes. |am fling under Chapter 7. Do you estimate that after any exempt property is excliided and
administrative expenses are paid that funds will be Available to distribute to unsecured creditors?

if No

 

 

 

are pald that funds will be OO) Yes
avallabie for distribution
to Unsecured creditors?
18, How many creditors do 140 QO 1,000-5,000 UL) 25,001-50,000
you estimate that you LI 50-99 () 5,007-10,000  50,001-100,000
owa? O 100-199 L] 16,001-25,000 CJ Mera than 100,000
LI 200-e99
43. How much de you LJ $0-850,000 CE 54,000,004-#40 million CY $500,000,001-$4 billion
estimate your assets to = L) $50,001-$100,000 © $10,000,001-$50 miltlon C1 §1,000,000,001-$10 billion
he worth? O $100,001-$500,c00 (3 $50,000,001-$100 million C $19,000,000,001-859 billion
$a $500,001-$1 million © $100,000,001-$500 rnillion (] Mere than $50 billion
za. How much do you Ci $0-$50,000 CL] $4,000,001-$10 million CI $500,006,001-$1 billion

estimate your liabilities
te be?

ar a

Sign Balow

© §59,007-5100,000
J $100,001-$500,000
bef $500,001-$4 million

LY $10,009,001-$50 million
CO) $50,000,001-5100 million
D) $160,000,001-8500 million

| have examined this petition, and! declare under penalty of pedury that th

  
 
  

C2 $1,000,000,001-$16 billion
1 $10,000,000,001-550 billion
CI Mere than $59 billion

e information provided is true and

 

 

For you correct,

If Thave chosen ta file under Chapter 7, 1 am aware that) may proceed, if efigipie, under Chapter 7, 11,12, or 13
of tle 44, United States Code. } understand the relief available under each chapter, and | chooge to proceed
under Chapter 7.
If no attorney rapregents me and | did not pay or agrees to pay someone who is not an attomey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).
i requast ralief in accordance with tha chepter of tite 11, United Stetes Coda, specified in this petition.
Junderstand making a false statemant, coneéaling property, or obtaining monsy or property by fraud in connection
with a bankrupicy case can result in fines up to $250,000, or imprisanment|for up to 20 years, or both.
16 U.S.C, §§ 162, 1341, 1578, ang 3571.
x x

Signature of Babtor 1 Signature of Debtor 2

Executed on G Executed an

MM fF DD fyYyyyY MM OG PY wy
Officla) Form 104 Voluntary Patition for Individuals Filing for Bankruptcy. page 6

 
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Debior 1 JACK _ A. co RTENS Case number tf hear

For your attomey, if you are

represented by one

If you are not represented

by an attorney, you do not
need to file this paga.

Official Form 104

me
wT

oe eee
ce Te ee ee a ee

TaN sre he!

 

 

|, the attomey for the debtor(s) named in this petition, declare that ! have ir
to proceed under Chapter 7, 11,12, or 13 of tile 11, United States Code,
available under each chapter for which the person is eligible, | also certify
the notlee required by 11 U.S.C. },and, in B casein which § 707(b}
knowledge after an Inquiry t

  
  

 

  

formed the debtor(s) about eligibility

dnd have explained the relief

that | have delivered to the debtor(s)
4)(D)} applies, certify that | hava no

he information in the schedules filed with the patitian Is Incorrect.

 

 

 

 

 

x Date 06/03/2019
Signature eee MM of OD fYYYY
ANDREW M, TILEM :
Printed narne i
LAW OFFICES OF ANDREW M. TILEM
Fimname 2 OSOSO~CsSSSTTC“‘<;7273}ER
228 MONTROSE AVENUE
Number Street
@ND FLOOR .
BROOKLYN NY 41206
Clty State ZIP Cade

 

Contact phone (718) 497-2552

2590123

Bar number Stata

Hi maT IR LT SEES

Voluntary Petition for Individuals Filing jor Bankruptcy

Poms tl a Ee edie ea

si esegs ANDTILE@GMAILCOM _

 

page 7

 

 

 

 
Ob /05/2019 8: Ge £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 Mvoor/oues

’

Fill in this information to identity your case and this filing:

 

Debtor? JACK CORTENS

Fit Name Niddio Manne

Debtor 2
(Spouse, # filing) FistNama

 

United States Bankruptcy Court for the: Distiat of

Case number

 

CY Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 4215

In each category, separately list and describe items. List an asset only ance, If an asset fits in more ate one category, list the asset in the

 

 

 

category where you think it fits best. Be as complete and accurate as possible. if two martied people are fillng togather, both are aqually
responsible for supplying correct information. If more spaca is needed, attach a sepatate sheet te this form. On the top of any additional pages,
write your name and case number {if known). Answer every question.

Describe Each Residence, Bullding, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

ll No. Go to Part 2.
"WW Yes, Where is the propery?
What is tha property? Check all that apply.
OC) single-family home
oO Buplex or multi-unit building

   

14. 153 macdougal street
Street address, if available, or other description

 

 

 

 

 

 

 

Cl Condominium ar cooperative urrent value of the Current value of the —
C) Manufactured or mobile hame ntire property? Portion you own?
QI) Land g 862,000.00 , 862,000.00
(2 Investment property

brooklyn NY 11233 O Timeshare Describe the nature of your ownership

city Stale AP Code 3 family interest (such ag fee simple, tenaney by

a Other the entireties, or a life estate), If known.

Who has an Interest In the property? Check one.

Kings fh Debtor lonly

County 2 Debtor 2 only

LJ pebter 1 and Debtor 2 only ) check if this is community property
(At least one of the debtors and another (see instructions) :

Other information you wish to add about this item, such as local
property Identification number:

 

If you own or have more than one, list here:

   
  

deducl secured calms or exemptians. Put, °
ail inn :

~Glainns Secured-by Property:

What is tha proparty? Chack all that apply.
O Single-family hame
oO Buplex or multi-unit building

   

  

1,2.
Sree! address, il available, or olher description

 

 

 

 

 

 

 

 

 

CQ) Condominium or cooperative Curent value ofthe Current value of the
| Manufactured or mobile home ntire property? portion you own?
CE Land 1 $
(4 investment property .
_ : escribe the nature of your ownership
City Slate = ZIP Cade 1 Timeshare Interest (such as fee simple, tenancy by
OD) other e@ entireties, or a life estate), if known.
Who has an interest in the property? Chack one.
LY Debtor 4 only
Gounty QO] debtor 2 only
(4 Debtor 1 and Debtor 2 only ] check if this is community property
CY Atfeast one of the debtors and another (S88 instructions)

Other laformation you wish te add about this Item, such as local
property Identification number:

 

Official Form 1065A/B Schedule A/B: Property . page 1

 

 
Ob/05/2019 8: Gabe T449-43447-cec

 

Debtor + JACK A, CORTENS fase NUMDBEr (i kod
First Nama Middlo Name Lost ame
What is the property? Check all that apply.
4 8 Single-family home

 

a Duplex of rauli-unlt building
O Condominium or cooperative
Q) Manufactured or mobile home

Street address, if availaile, or other description

 

 

interest (such as fae simple, tanancy by

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Purrant value af the Currant value of tha Lg
ntiré property?” portion you own? :”
; 5 . r

 

 

describe the nature of your ownership

he entireties, or a life estate), If known,

 

 

oO Land f
©) invasiment property

City State ZIPGoda [) timeshare f
LJ other t
Whe has an Interest in the property? Check ono.
L) Debtor 4 only

County

CO Debtor 2 only
OC Debtor 1 and Debtor 2 only
CJ at least one of the debtors and another

q

Other information you wish to add about this item
property identification number:

 
  
  

DY Gheck if this is community property
{see instructions)

such as local |

 

2. Add the dollar value of the portion you own for ail of your antries fram Part 1, Including any entries fo
you have attached for Part 1. Write that mumbor here. ........:cccccccesceeeeeeceee nese eereeereoesarereraeeesacerasenes

Describe Your Vehicles

De you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not
_ you own that somegne else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and

3. Cars, vans, trucks, (actors, sport utility vehicles, motorcycles

I Ne

1 Yes

3.4. Make: Who has an intarastin the propetty? Check one. - ‘
Model: (1 Debtor 4 only
Yaar: O) pebter 2 only

 

(Y bebtor 1 and Debtor 2 only

Approximate mileage: () Atleast one of the debtors and another
Other information;

Ci Check if this is community property (sea
instructions}

_

Tf you own or have more han one, dageriba here:

 

a9) Make: Whe has an interest in the property? Check one.
Medel: CY Debier 4 only
QO Debter 2 only
Year,

(J Debter 1 and Debtor 2 only

Approximate mileage: (C] At least one of the debtors and another
Other information:

fl Gheck if this is community property (see
instructions)

 

Official Form 106A/B Schedule AJB: Property

 

 
 
  

 

    
   
    
  
    

Yr pages

eceteeeeeneeseerseas >

 

 

 

? Include any vehicles
Unexpired Leases.

ured claims or exempllons: Put :
any. secured elaims on:
is Secu

  

Turrent value ofthe Current value of the
niire property? portion you own?

 

rurrent value ofthe Current valua of tha |
ntire property? portion you own?
Ob/05/2019 8: Gabe T449-43447-cec

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Debtor 7 JACK A CORTENS Case number (Fkaews
Finest Augen Biddle Marta Last Name
35, Make: Who has an Interest in the property? Check one.
Model: CU Debtor 7 only
¥ fa Debtor 2-only .
ear: *

Approximate mileage:
Other information:

3.4. Make:
Model:

Year:

Approximate mileage:

Other information:

b
+
‘
'
'
I

 

Td Cebtor 1 and Debtor 2 only
Ly Atleast one of the debtors and another

LJ) Gheck If this is community property (see
insteuctiqns)

Who has an interest in the property? Chack one.

(J) Debter 4 only

O} Debtor 2 only

LY Debter 4 and Debtar 2 only

(4 Atleast one of the debtors and another

QC) heck If this Is community property (gee
instructions)

 

Wn

Current value ofthe Current walue of the i

ntire property? portion you own?

 

urrent value of the = Current Value of the
niire property? portion you own

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, ather vehicles, and sceessaries
Examples: Boats, trailers, motars, parsonal watercraft, fishing vessels, snowmobiles, motorcycle accessories

4 no
UO Yes

ai. Make:
Modal:
Year.

G@ther information:

 

 

If you own of hava more than ond, list here:

4.2, Make:
Model:
Year:

Other information:

4
+

 

 

 

5. Add the dollar value of the portion you own for all of your entries fram Part 2, including any entries for pages
you have attached far Part 2. Write that number here .... anche

Official Form 1064/8

Wha has an interest In the property? Check onc.
0 Debter 4 only

a Debtor 2 only

O) Debtor 1 and Debtor 2 only

OC Atleast one of the dablors and another

Cl Gheck if this is community property (see
instructions)

Who hag an Interest in the property? Check one.
C1 Dabtor + only

CY enter 2 only

(9 Debtor 4 and Debtor 2 only

CO Atleast ona of the debtors and another

C] Cheek if this Is community property (see
instructions)

 

Current value ofthe Current value of the ;
entire property?

portion you own?

 
   

aims or exemptions..Put:
itd ebbing Qn Schedule De:
ve Claims Sacured by Property.
Current value ofthe Current value of the
entire property? portion you own?

f= J
te

 

Schedule A/B: Property

 

page 3

 

    

 

 

 
Ob /O5/2019 8: Cée £449-43447-cec Doci1 Filed 06/05/19 Entered 06/05/19 09:18:19 Meoli/ooes

Debtor 1 JACK A. CORTENS Case number rinows)

First Mgr Aiciche Marta Last gma

| Pare a: Describe Your Parsonal and Household liams .

De you own or have any tegal or equitable interastIn

 

 

 

  
 
 

. & Household goods and furnishings , {
Examples: Major appliances, furmiture, linens, china, kitchenware

Ld No : - eee ee '
4 Yes. Describe... ' Used furniture ig 2,000.00 :

 

 

 

 

7 Electronics

Examples: Televisions and radios, audio, video, stereo, and digital equipment, computers, printers, scanners; music
collections; electronic davices including cell phones, carneras, media players, games

Ld No : .
M1 Yes. Describe... itelevision, computerm stereo 5 1,900.00 :

 

 

 

4. Collactibles of value ; 4

Examples: Antiques and figurines: paintings, prints, or other artwork; books, pictures, of other art objects:
stamp, caln, or baseball card collections; other collections, memorabilia, collectibles
id No

Ql yes. Describe... %

i

2 Equipment for sports and hobbies ‘
Ffxamples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes

and kayaks; carpentry tools; musical instruments ‘

 

i No : :
Q Yes. Describe. ssssssn| fi

 

 

 

 

10, Firearms

 

Examples: Pistols, rifles, shotguns, ammunition, and related equipment
fl No

LL) Yes, Describe... ! 5

 

 

. 11, Qathes
Examples: Everyday clothes, furs, feather coats, designer wear, shoes, accessories

a sve
id Yes. Describe......... clothing \, 200.00

 

12. Jewelry

Examples: Everyday jewelry, costume jawalry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

WI no ,
Qi Yes. Desoribe......-..4 5 ‘

 

 

 

13, Non-farm animals
Examples: Dogs, cats, birds, horses
id No am
C) Yes, Deseribe..uad 5

 

 

 

14. Any other personal and household items you did not alraady list, Including any health aids you did not list

 

 

 

 

 

iJ No
L) Yes, Give specific 5
InfOrMAtiON. sassssseeeed —coeeees ssttenteeteeneeeced
75. Add the dollar value of all of your entries from Part 3, including any antrias for pages you have attached $ 3,700.00
seseeaeessneeeeinseees > ~

 

 

for Part 3. Write that murmiber tere nee eee ccc eececatan sansa tnserenirers enn eneesnswnesaesnensnonsenesenesnesseoneeneeneneess

Official Form 1064/6 Schedule a/B: Property page 4

 
Ob /O5/2019 8: Gabe £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 Meole/ooes

Debtor 1 JACK A. CORTENS Cage NUMBbEF (if knew)

J 4
Fest Name Migchg Name baat Hane

| part a: | Describe Your Financtal Assets

Do you own or have any legal or equitabla interest‘in any of the follawina? eS

 

 

   
  
 

     
  

 

ufréht Value ofthe”
.portion.you awn
jo not. deducts ured claims .

 

   

 

. 16.Ga8h
Examples; Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
Q) No
WS eee eeeenennennnntnennnnttenmnstannnmanitnne nun sinnninieinnntennn pen GaN: WW. estunien g ve 1 50.00

 

17, Deposits of money
&xampies: Checking, savings, or ather financial accounts; certificates of deposi; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institulion, list each.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OI No
CF YS cessessessersereeee Jnstitutlon name:
17.4. Ghecking account: checking . 5 200.00 iH
17.2. Checking account; $ 4
17.3. Savings account a 5 4
17.4. Savings a@ecount . g
17.5. Cartificates of deposit: g
17.6. Other financial account: %
17.7. Other financial account: %
17.8, Other financial account, % ; __
17.9, Other financial account $ ___ _
16. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounks
1 wo
7 Institution or issuer name:
5
-—— §
18. Non-publicly traded stock and Interests In incotporated and unincerporated businesses, Including an interest in
an LLC, partnership, and joint vanturé
1 No Name of entity, % of ownership:
OO] Yes. Give specific O% %
information about " 04
HET sseeseeesseseterseeins {a %
a
0 a % 5

 

Official Form 106A/6 Schedule A/B: Property page §

 

 
Ob/05/2019 8: Gabe T449-43447-cec

JACK

Fest Rome

A.

Micha fear

Debtor 1

20, Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashlers’ checks, promissory notes, and money orders.
Non-negotiable insinments are those you cannet transfer to someona by signing or delivering them.

Hi bo

CORTENS

Oase number (Ff know
Last Hamar

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(J Yes. Give specific ‘Issuer name:
information about
= §.
$
§
"24, Retirement or panslon accounts
Examples: Interests in IRA, ERISA, Keagh, 401k), 403(b), thrift savings accounts, or other pansion or profit-sharing plans
#1 No
Yes. List each
account separately. Type of account: institution name:
401k) or similar plan: 3
Pension plan: $
IRA: 3
Retirement account: 5 __.
Keogh: 5
Additional account: 5
Additional account s
22 Sceurty deposits and prepayments
‘ Your share of all unused deposits you have made 4o thal you may conlinue service or use from a company ;
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications .
companies, or others :
kd No
OY Yes. Institution name or Individual:
Electric. %
Gas: _ %
Heating ail: ee %
Sceurity depos an rental unit: t
Prepatd rent $
Telephona: $
Waller $
Rented tumiture: $
Other n- a $
23. Annuities (A contract for a periodie paymant of money to you, either for life or for a number of years)
No
CD Yas. Issuer name and descriptlon:
&
&

 

Official Form 1064/8

Schedule A/B: Property

page 6

 
Ob /O5/2019 8: Gabe £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 Meo ld /ooes

Doubt 1 JACK A. CORTENS Case number (anon)

Firat Aarne Middle Mana Last Name

 

 

 

24. Interests In an aducation IRA, in an account in 4 qualified ABLE program, or under a qualified state tultion program.
26 U.5.C, §§ 530(b)(1), 529A(b), and 529(b)(1). Lk
Hi No

Institution name and description. Separately file the records of any interests.14 U.S.C. § 524 (c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1}, and rights or powers
exercisable for your banafit

Hino

O Yes. Give Specific
information about them...

 

 

f
I
t
I
t

 

 

 

26, Patents, copyrights, trademarks, trade secrets, and other Intallactual property
Examples: Intemet domaln names, websites, proceeds from royalties and licansing agreements

a Ny

L) Yes. Give specific {
information about them....! 4
t

 

 

 

 

_ 2%, Licenses, franchises, and other general intangibles
: Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

HI no

LI Yes. Give specific

information about them... &

 

“. Gurrent value ofthe |.
_portlonyouowa? *
De not deduct secured a

Money or property owed to you? _

    

28. Tax refunds owed to you

4 No

 

LI Yes. Give specific information
Federal; $
about them, including whether “ee
you already filed the ratums State: a
€nd the taX YEAS. scsesessceseeeees Lokal

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal suppor, child support, maintenance, divorce satlament, |property selUement

 

 

 

 

 

 

No

QW) Yes. Give specific information............
Alimony: g
Maintenance: $
Support: $
Bivorca satiemant $e .——
Fraperty settlement: $

30. Other amounts someone owes you
Exampies: Unpaid wages, disability insurance payments, disability banefits, sick pay, vacailan pay, workers' compensation,
Soctal Security benefits: unpald loans you made to someone else
id No Pere rv.
U Yes. Give specific infonmation.............--
5

 

 

Official Form 106A/B Schedule AJB: Property page 7

 
Ob /O5/2019 8: Gabe £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 Meola /oues

Debtor 7 JACK A. CORTENS

_—. A Case NUMDEF (if kere
Fost Nama Rigaig tame Lat Mare

 

’ a1. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurances

4 No

OO) Yes. Name the insurance company

. Company name: Beneficiary: Sbrrender or refund value:
of each policy and list lts value. ... ¥

 

32 Any Interest in property that i6 due you from someone who has died

If you are the beneficiary of a living trust, expect praceeds from a life insurance policy, or are currandy entitled to racaive
property because someone has died.

id No

(I) Yes. Give specific information.............. ;
a

 

 

 

33. Claims against third parties, whether or not you have filed a [awsult or made a demand for payment
Examples: Accidents, amploymant disputes, insurance daims, or rights to sue

J No

CO Yes. Describe een elgim.............-

 

 

 

 

34, Other contingent and unliquidated ciaims of avery nature, including counterclaims of the debtor and rights
to set off claims

4 No

(J Yes. Describe each clalm. seth viaansid

 

35. Any financial assets you did nat already list

OF Yes. Give specific information...

 

 

 

 

38, Add ths dollar value of all of your antries from Part 4, including any entries for pages you have attached 350.0
for Part 4. Write that number here ... ecuusuceaneanssuuauanatassanecesuseursninsceanenipneencearss re oreeaes evaueearsosvgeravneueauieaieuienarcapacenuaeniarsanieaiie +> gs 350.00

 

 

 

a Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37, Do you own or have any legal or equitable Interest In any business-related property?
Bio Go to Part 6.
Gd Yes. Go to line 38.

 

portion you own?" |

Do not deduct secured claims
or.axemptions. . soe

_ 38. Accounts recelvable or commissions you already earned
O Na — ee oo ee ee oe

QJ Yes. Describe....... |

39. Office equipment, fumishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

4 No
(4 Yes. Describe...

 

 

 

 

 

Official Farm 1OBAVB Schedule Af: Property page a

 
Ob /O5/2019 8: Gabe £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 Meo lb /ooes

Debtor 1 JACK A. CORTENS Case number {ikoona), ‘4

Firat Marat Midalo Name Lamat Bbarrite

 

4). Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

LI No ;
C) Yes. Deseribe......j oo _. ‘

 

 

47. Inventory

CJ tio TA a RP tas esti

 

 

i

CY Yes. Describe......j

 

-4. interests in Partnerships or joint ventures

 

 

 

mma YY

C1 Yee. Deseribe..... Name of entity: 94 of ownership:
A |
% $e
Ye $B

43, Customer lists, mailing sts, ar other compilations

 

 

 

 

 

 

 

 

 

 

 

 

No
CD Yes, De your lists include personally identifiable infonnation (a3 defined in 11 U.S.C. § 101(41A))? j
1 No ;
L] Yes. Deseribe....... ; ;
44 Any businesé-related property you did not alraady list
) No
QO Yes. Give Specific s
information ....00
$
$ a
4
oe $e
45, Add the dollar value of all of your antelas from Part 5, Including any entries for pages you have attached 5
for Part 5. Write that numbar hare ......... i" vn sess sasusasensnnsuunsuessneceaseceeafeeeecesseesnieiatstt >

 

 

 

 

eae Describe Any Fanm- and Gommercial Fishing-Related Property You Own or Hava an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

 

 

No, Go to Part 7,

46. Do you own or have any legal or equitable interest in any fann- or commercial fishing-related property?
Q = Go te line 47.

Currant value of the
portion you: awn?

Bo not.deduct secured, aims,
ar exemptions. © .

47. Farm animals
Examples: Livestock, poultry, fann-raised fish

Q) No
i seetnsas oot tene

 

 

Officta] Farm 1064/6 Schedule AJB: Property page 9

 

 
Ob /O5/2019 8: Gabe £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 Meeri/ooes

Debtor 1 JACK A. CORTENS . Case number (i knawe

Funct Alarm faith Mace Last Nae

 

48. Grope—either growing or harvested

Gal No
CY ves, Give specific :
information. ............ 5

 

 

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
4 na
ee

 

 

 

 

50. Fanm and fishing supplies, chemicals, and feed

iJ No

CF Yes oo.

 

 

 

 

51. Any farm and commercial fishing-related property you did not already list
Ne
CO Yes. Give specific |
information. ............{ C3

 

 

 

 

 

| 82 Add the dollar value of all of your entries from Part 6, including any ontries for pages you have attached 5 0.00
for Part 6. Write that number Were cc ccsssscstssesseeusuerseccsseceseseseescssoesceceseessecesecsersuseseessescessonetaccesefeeseneeseittaanann > a

 

 

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not|/List Above

 

_ 53. Dé you have other propérty of any Kind you dld not already list?
Evampies! Season lickels, country dub membership

No

L) Yes. Give specific

information. .......... i

i

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number Were 0... ae eens sasieseeaeeeeserriee $ i,

Es List the Totals of Each Part of this Form

55, Part 1: Fotal real estate, line 2 ....

 

 

 

 

 

> | ¢ _ 962,000.00

 

 

 

 

 

 

56, Part 2: Total vehicles, line § gs «00
57, Part 3; Total personal and household ttams, Ilne 15 gs _3, 700.00
458. Part 4: Total financial assets, line 36 5 450.00
59. Part 5: Total business-related property, line 45 5 0.00
G0, Part 6: Total farm- and fishing-related property, tine 52 5 —Ci 00
_ 61. Part 7: Total other property not listed, line 54. Ss 0.00
62. Total personal property. Add lines 56 through 61... g___— 4,050.00 Copy personal praperty total + $ 4,050.00
63. Total of all property on Schadule AIB. Add line 55 + 1IMG 62, —occoeeceeecncseneesenssstnsnetasenssnenenvesnnesneneesipnnereres ss s _:866,050.00

 

 

 

Official Form 106A/B Schedule AB: Property page 10

 
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Doc1 Filed 06/05/19

MINER NUM ie cee kan el een

JACK CORTENS

Firat Nattina Mica Mame

A

Debtor 1

 

(pest Nauta

Gebtor 2
iSpousa, if fling) First Name

 

Mickie Kiar Laat Name

United States Bankruptcy Court for the: EASTERN District of NEW vor«_[*]

Gas Auber
tH krvawin}

 

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

Entered 06/05/19 09:18:19 Woo 18/0028

    
   
 
 

QQ Cheek if this is an
amended fillng

12/5

 

Be as complete and accurate as possible. if two married people are filing tagether, both are equally rest
information. If more space is heeded, copy the Additlonal Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

+. Do any creditors have claims secured by your property?
(CLI No. Gheck this box and submit this form to the court with your other schedules, You have nothing alse to

@ Yes. Fill in all of the information below.

List All Secured Claims

2 List all secured claims. ifa crediter has more that

for each alaim.’ If more than.one: crediter: has a Pat

 

 

 

 

 

 

 

[ 2.4] NATIONSTAR MORTGAGE Deseribe the property that securas tha claim
io RAS Boriskin 153 Macdougal Street
Number Street
900 Merchant Concourse As of the date you file, the cfaim is: Check all that apply.
Ci Contingent
Westbury NY 171590) O) untiquidated
City State ZIP Code | Disputed

Who owes the debt? Check one.

{F Debtor 4 only

QY Debtor 2 only

(J Debtor 1 and Debtor 2 only

O Atleast one of the debtors and another

Nature of lien. Check all lnal apply

ie an agnéement you made (Buch 235 morgage or secured
carloan)

| Statutory len (such as tax lian, mechanic's lian)

(4 Judgment liew from a lawauil

2 other (loduding a right to otfset)
Q check if this claim relates to a

community dabt
Date debt was incurred

Last 4 digis ofaccount number __

 
 

honsible for supplying correct

 
   
   
 
 
 

report on this form,

 

J. oO ¢ 862,000.00 « ve

  
 

 

 

 

 

 

 

 

 

 

 

 

 

Deseribe the property that secures the claim: 5 5 a
Craditor's Name P
Number Street i _.
As of the date you file, the claim is: Check all that apply.
Q Contingent
CY Unliquidated
ee State dir Ceas Lad Gispured
Who owes the dabt? Check one. Natura of lien. Check all thal apply.
() Dabtor 4 only Q An agreement you mada (auch aa mortgage or secured
iq ya
OL debpter 2 ony tarloan)
(J Debtor 1 and Debtor 2 only OF Statutery len (such as tax lian, mechanic's lien)
Atleast one of the debtors and another 1 Judgment fen from a lawsutt
1 other (including a right to offset)
C) Ghock if this claim relates toa
community debt
- Date debt was ineurred Last4 digits ofaccountnumber_
Officiat Form 106D Schedufe D: Greditore Who Have Claims Secured by Property page Tot__

 
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Jack A Cyt :
~~ Debtor 4 1 aT Gy ¢ CARE NUMDET [Fkaewn),
Fira] Neur Mita Nana Lasi Mame
List Others to Be Notified for a Debt That You Already Listed ,
Use this page only if you have othars to be notified about your bankruptey for a debt that you already listed in Part 1. For example, Ifa collection
agency Is trying to collect from you for a dabt you owe to someone else, list the creditor In Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor fer any of the debts that you listed in Part 4, list the additional creditors hpre. If you do not have additional persons te
ba notified for any debts In Part 1, do not fill out or submit this page.
On which line in Part 1 did you enter the creditor?
[| A i fey, LL nl beg hae 2s
Name Last 4 digits of account number _
32. poduve, ~13 Fi
Number Street /
: ne a | 1QO00F
- City | i " ‘State ZIP Gode
[| On which Jine In Part 1 did you enter the creditor?
Name” Last4dighs ofaccountnumber
Number Street
City State ZIP Coda
a On which line in Parid did you enter the creditor?
une | Last 4 diglts of accountnumber_
, Number Street
City Stale ZIP Code
| “On which line in Part 1did you enter the creditor?
Name Last 4 digits of account number
Nurnber Street
City State ZIP Cade
U] On which line in Part 1 did you antor the creditor?
Nama Last 4 digits of account number ___ Le
Number Street
City Slate ZIP Gade
: [| On which line in Part 1 did you anter the creditor?
Name ~— Last 4 digits ofaccount number
Number Street
City State ZIP Code
Ve a) oe Dad Saf @reob coils f- Mradndhara Who Hawa fPlaime Serired hy BPronedtu nane of

 
OB

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TAMU M ee ul ears ath me eel ta

 

 

 

Debtor 1 Jack A Gortens
First Nama Meddle Name Last Name
Qabtor 2
(Spauee, if Ming} FirstName Mildia Hama Last Name
United States Bankruptcy Court far the: Eastern District of New York

Case number
(if known)

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Entered 06/05/19 09:18:19 Wiee20 0028

 

{ Check if this is an
amended filing

T2M5

 

Be as complete and a¢curate ag possible. Use Fart 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Offictal Form 10GA/B) and on Schedule G: Executory Contracts and Unexpired Leases
creditors with partially secured claims that are listed in Schedule 0: Craditars Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxas on the left. Attach the Continuation Paga to this page. On the top of
any additional pages, write your name and case number (if known),

List All of Your FRIORITY Unsecured Claims

mh

. a

Official Form 106G). Do not include any

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

De any creditors have priority unsecured claims against you?
No. Go to Part 2.
Ld Yes.
: 2. List all of your priority unsecured clalms. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. Far
sach clalm listed, identify what type of claim it is. Ifa claim has both priority and nenpriorily amounts, list that claim here and show beth priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you hava more than two priority
unsecurad claims, fill out tha Continuation Page of Part 1. if more than one creditor hokis a particular claim, list the other creditors in Part 3,
(For an explanation of each type of claim, see the Instructions for this form in the Instruction booklot.} co a
» Priority 1. Nonpriority
‘amount = amount
21 g $
a Last 4 digits of account number ___ _ a
Priority Creditors Kame
q When was the debt incurred?
ip Number Streal
: — As of the date yau fils, the claim 1s: Check all that apply.
Cy Sate ZIP Cede 1 Contingent
Q) Unliquidated
Who Incurred the debt? Check one. C2 Disputed
[ Gebtor 4 only
(2 Debter 2 only Type of PRIORITY unsecured claim:
Uy Debtor 1 and Deblor 2 onty 1 Domestic support obligations
C1 Atleast one of the debtors and another (] Taxes and certain other debts you owe the gavernmen
1 Check if this claim is fora community debt OD claims jor death or personal injury while you were
Is the claim sublect to offset? intonicaled
O No OQ) other. Spacify
QO) Yes a
[22 | Last 4 digits ofaccountnumber 0 § $
Pronty Creditors Name
When was the debt incurred?
Number Seal
43 of the date you fila, the claim Is: Check all that ape
QO Contingant
City Stale ZIP Code 1 Untiquidatec
Who incurred the debt? Check one. 1 disputed

GI Debtor 4 anty

(4 Dabter 2 only

(4 Dabter 7 and Dabter 2 only

OF Atteast one of the debtors and another

EJ Check if this claim is for a community debt

{J Domestic support obligations

Type of PRIORITY unsecured claim:

(J Taxes and cartain olher debts you owe the governmen
J claims for death or personal injury while you were

 

intoxicated
Is the clalm subject te offset? Q) other. Spacity
Fl wo
OO ves

p= = 1 ok Pre

bw eel GUD. Men dike Wik Wesvwn Limcorwruron Piscimc

 

nana 4d at
Ob /O5/2019 8: OGe £449-43447-cec Doc1 Filed 06/05/19 Entered 06/05/19 09:18:19 ieee 1/002

Debtor 1 Jack A Cortens Case number Gare
Fun Name Middle Name Lugt Nying

=

fi

 

ue Your PRIORITY Unsecured Glaims — Gontinuation Page

 

. Priority... Nonpriority
amount + amount

LI sk

Last 4 diglis of account number

7 After listing any antrles on this page, number them beginning with 2.3, followed by 2.4, and so forth. | Total clair:

  

 

 

Priority Creditors Name

When was the debt Incurred?

 

 

 

Number Street
As of the date you file, the claim is! Check all (hat apply.
{J Contingent
City Slate  oPCode C1] Unliquidated
O Disputed
Whoa incurred the debt? Check one.
is Q) Detter 1 only Type of PRIORITY unsecured clalm:

F CO) Debtor z only
: (1 Debtor 4 anc Debtor 2 only
O At least ane of the dabtors and another

[1 Domestic support obligations
O) Taxes and certain other debts you owe the governmen

Claims for death or personal injury while you were
intoxicated

| Q) Check if this claim is for a community debt C other. Specity

 

[5 the claim subject to offsct?

O No
i yes

 

Last 4 digits of account number $ $ 4,

 

 

Priority Grediter's Name

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Chack ali that apply.
Q Contingent

City Slate ZIP Code O Untiquidated

i OQ olsputed
' Who Incurred the debt? Check one.

CJ debtor 1 only Type of PRIORITY unsecured clalm:
(1 Dabtor 2 only

(1 Debtor i and Debter 2 only

Oo At least one of the debtors and ancther

C) Domestic support obligatlans
) Taxes and cartain other debts you owe the government

GJ Claims for death or personal injury while you were
Intoxicated

: C) Cheek if this claim is for a community debt
CY Other. Specify

 

Is the claim subject to offset?

 

 

 

 

 

 

 

; 1 No
- Q) ves
: Last 4 digits of accountnumber | = $ — %
Prionty Creditar’s Nama
v When was the debt incurred?
: Number Sueet
As of the date you file, the clalm ig: Check all that apply.
2] Contingent
ciy Slate ZIP Goede CD) unliquidated

C] Disputed
Who incurred the debt? Check one.
C1 Debter 4 only Type of PRIORITY unsecured claim:
(1 Debtor 2 only
(2 debtor 1 and Debtor 2 only
C) Atleast one of the debtors and another

1) Domestic support obligations
(J Taxes and certain other debts you owe the government

Q Claims for death or personal injury while you were
Intaxleated

C1) olner. Specify

 

( Check if this claim is for a community debt

 

I the claim subject to offset?

LJ Ne
oO Yes

 

ihe) Cee ANC fe®.bodoic LIE: PeoAitarcc Who Mava llngqecurad flsimc nano nf
OB/O5/2019 8: OGe £449-43447-cec
Jack A

Furst Name

Debtor 1

Middie Name Laat Abend

List Ali of Your NONPRIORITY Unsecured Claims

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Cortens

Case NUMBET (if Anewa).

 

: 3, Do any creditors have nonpriority unsecured claims against you?
Ne, You have nothing to report in this part. Submit this farm ta the court with your other schedules.

Yes

: 4. List all of your nonpriority unsecured claims in the alphabetleal ordar of the creditor who holds ea
; nonpriority unsecured claim, list the creditor separately for each claim. For each clalm Hlstad, identify what
included in Part 1. [f more than one creditor holds a particular claim, list the other creditors in Part 3.1f you

dlalms fill out the Continuation Page of Parl 2.

 

 

 

 

ch claim. If a creditor has more than one
type of claim it Is, Do not list claims already
have more than thrae nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

Who Incurred the debt? Check one.

1 Debtor 4 only

C) debtor 2 only

CJ Debtor 4 and Debtor 2 only

(9 atleast one of the debtors and another

Q) Check if this claim Is for a community dabt

Is the claim subject to offset?

0 wo
OO yas

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Snabooulc BKIE- Pesdleaeo Whar Howe lintacirad flaima

Oo Contingent
Q Uniiquigdated
C1 Disputed

Type of NONPRIORITY unsecured claim:

EJ Studant loans

(1 obligations arising out of a separation agreement or divorce
that you did not report as priority clalms

(J Dabts to pansion or profil-sharing|plans, and other similar debts

Q) other. Spacify

 

 

“ Total-ctaim
Last 4 digits ofaccountnumber |
Nonpronty Creditors Name a.
: When was the dobt incurred?
i Number Steel
: , Cily Stale ZIP Code As of the date you file, the cfaim is: Ghack all that apply.
() Contingent
Who incurred the debt? Chack onc. L) Unliquidated
Q) Qentar 4 onty CJ Gisputed
O debtor 2 only
QO) Debtor 4 and Debtor 2 anly Type of NONPRIORITY unsecured claim:
CY Atleast one of the debtors and another Student loans
: iF thi imi oO Obligations arising out of a separation agreement or divorce
O Check if this claim is for a community debt that you did not raport as priorily claims
' Is the claim subject to offset? GQ] ebts to pansion or profit-sharing plans, and other almilar debts
O] no 1 other. Saeclfy
) Yes
4.2 | Last 4 dighs ofaccountnumber | &
Nonpriority Creditors Name When was the debtincurred? =
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Coda oO Gontingent
Whe Incurred the debt? Check one. a Vnilquidated
d
(2 Debtor i only Dispute
C1 dabtor 2 ont
O) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecuted claim:
(J Atteast one of the debtors and another student loans
ma Obligations arising out of a separation agreement or divorce
1 Gheck if this claim Is for a community debt that you did not raport as priority claims
. Is the claim subject to offset? 1 Debts to pension or profit-sharing plans, and other similar debts
7 O No J other. Specify
: CO} Yes
Is | Last 4 digits of accountnumber | | $
Nenpranty Grediiars Name When was the debt incurred?
Number Street
ay Se IF Gade As of the date you file, the claim fs: Check all that apply.

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